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)                                      UNITED STATES DISTRICT COURT
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 '                                               C R IM IN A L C O V ER SH EET
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                l.   Didthismatteroriginatefrom am atterpendingin theNorthern Region oftheUnitedStates
                     Attorney'sOfficepliorto October l4,2003?          Yes X No
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'               2.   Didthismatteroriginatefrom LmatterpendingintheCentralRegion oftheUnitedStates
    '                Attorney's O ffice priorto Septem ber l,2007?               Yes X N o

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 (                                                          Respectfully subm itted,

                                                            w lyjjso o A .FERRER
                                                            UN ITED ST TES A TTO RN EY

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    :
                                                     BY ;
    )                                                       K A N E l ERT
                                                            Assistant ited StatesAttorney
                                                            Florida BarN o.771007
    y                                                       U nited States Attom ey's O ffice
                                                            99 x .s.4th street,8tl-rloor
        )                                                   M iam i,Florida 33132
     2                                                      Telephone:(305)961-9161
    y                                                       Facsimile:(305)536-4675
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                                                            Karen.Gilbert@usdoi.gov
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                  AO 91(Rev.08/09) Cri
                                     m inalComplaint

                                                  U NITED STATES D lslw c'rc ouR'r
                                                                             s rtjw
                                                                  Southern DistrictOfFlorida

                                 UnitedStatesofAmerica                         )
                                           v.                                  )
E                                                                              )     casexo. tQ - Y to -cm
'
                                    GregoryHubbard,                .
                                                                   ,           )
                                DayneAntanichristian,and                       )
.
q                                DarrenArnessJackson,                          )
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                                          pepndantls)
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)
                                                                   CRIM INAL COM PLAINT
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)                          1,thecom plainantinthiscase,statethatthe following istrueto thebestofmy knowledge andbelief.
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g,
                  Onoraboutthedatets)of     April2015-July21,2016      inthecountyof Miami-Dadeand Palm Beach inthe
;                    southern    Districtof       Florida      ,thedefendantts)violated:
                          CodeSection                                                 Of/ènycDescri
                                                                                                  ption
)
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t                  18U.S.C.j2339B(a)(1)                       ConspiringandAttemptingtoProvide MaterialSuppodandResourcestoa
1.                                                            Designated ForeignTerroristOrganization'
                                                                                                     ,and
2
)
                   18U.S.C.j922(g)(1)                         Asto DayneChristi
                                                                              anonly:
                                                              Felon in Possession ofa Firearm and Ammunition
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                           Thiscriminalcomplaintisbased on thesefacts:
r                  See attached affi
                                   davitofSpecialAgentBrian King,FederalBureau ofInvesti
                                                                                       gation.
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    C                       W Continuedontheattachedsheet.
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                                                                                                    M 7V M
    ?
                                                                                                       Complainant'
                                                                                                                  ssignature


                                                                                                        Printed nameand title

                   Sworntobeforeme and signed in my presence.
    r

     L             oate: J-22-(œ                                                                      -.                        l)------
     ;
     '             City and state:                      Miami, Florida                         U.S.Magi
                                                                                                      strate Judge Chris M.McAliley
     :                                                                                                  prfntea nameanatute

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                                                       AFFIDAW T
                       1,SpecialAgentBrian King,firstbeing duly sworn,deposeand statethefollowing:

                                                       Introduction



        plt                     charging GREGORY HUBBARD, DAYNE ANTANI CHRISTIAN, and
)
)               D      N ARNESS JACKSON with violating 18U.S.C.bj2339B(a)(1)and 2,inthattheydid
l               knowingly conspire and attempt to provide matedal support and resources to a designated
)
E               Foreign TerroristOrganization,thatis,the lslamic State of Iraq and the Levant. Further,this
'
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F
'               affidavitis subm itted in supportof an application for a crim inalcomplaint                      @X
)
t
S
)
è               charging DAYNE ANTANICHRISTIAN with violating 18 U.S.C.j922(g)(1),in that,having
i
,               Previously been convicted ofacrimepunishableby imprisonmentforaterm exceeding one(1)
)
.
)
'               year,he did knowingly possessa firearm in and affecting interstateand foreign com merce.
q.

:                      2.     Inm a SpecialAgentwiththeFederalBureau ofInvestigation C4FB1'')and have
t
l
'
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                worked in that capacity forthirteen years. l am currently assigned to the FBI,s M iamiField
f
t
i
q               Division,W estPalm Beach ResidentA gency. lwork on an FBIcotmterterrorism squad,which
t
)               ispartoftheSouth FloridaJointTerrorism TaskForce(ç:JTTF'').Assuch,Iam responsiblefor
J
)               the investigation of violations of federallaw,including federal laws relating to intem ational
)
'
k.
t               terrorism, national security, terrorism support activities, and firearms and other weapons
'
)
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                 offenses.
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                       3.     Inm fnmiliarwith thefactsand circum stancessetforth in thisaffidavitasa result

t                ofm yparticipation in theinvestigation;asa resultofmy experience,training,and background as
.:

    )
    t            a Special Agent with the FB1 and with the JTTF;as a result of personal observations and
    J
    i            exam ination ofrelevant evidence;and as a resultofinform ation provided to me by other 1aw
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           enforcementofticers and witnesses. The inform ation contained in this affidavitisnotinelusive

           of a11 the facts of the investigation and is provided for the lim ited purpose of establishing

           probable cause to obtain a crim inal complaint. 1 have listened to the audio recordings ofthe

           meetings in this case and other FBl employees have prepared drafttranscripts ofthese audio

           recordings. lhave reviewed these transcriptsbuthave notundertaken a precise comparison of

           the wordson theaudio recordingswith thewordson thetranscripts. Thatbeing said,my general

           review ofthese drafttranscriptsindicatesthatthey are accm ate and comportwith m y personal

)          knowledge ofpertinentmeetings. Accordingly,1am relying on these drafttranscriptsprepr ed
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t          by other FBlemployees for the quoted conversation excerpts included in this affidavit. A11
'
           meetingsdiscussed in thisaffidavit,exceptone noted below ,wererecorded.
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                  4.      A person violates18U.S.C.j2339B(a)(1)asfollows:
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'C                W hoeverknowingly provides materialsupportorresotlrces to a foreign terrorist
(
.                 organization, or attempts or conspires to do so....To violate this paragraph,a
E(
.
 :                person m ust have knowledge that the organization is a designated terrorist
                  organization....or that the organization has engaged or engages in terrorist
t                 activity.
#
'
                   5.     Section2339B(g)(4)and 18U.S.C.j2339A(b)(1)-(3)defineçfmaterialsupportor
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           resources-,aso llows:
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                   (Tlhe term tmaterial supportor resotlrces,' means any property,tangible or
;
                   intangible,or service,including currency or m onetary instnlm ents or Gnancial
:                  securities, financial services, lodging, training, expert advice or assistance,
C
)                  safehouses, false docum entation or identitk ation, com munications equipment,
'
r                  facilities,weapons,lethalsubstances,explosives,personnel(1ormoreindividuals
k
'                  whomaybeorinclude oneselg,and transportation,exceptmedicineorreligious
)                  rnaterials;
    '
    2              g'
                    Tlheterm Etraining'meansinstmctionorteachingdesignedtoimpartaspecitk
.

'
    )              skill,asopposed to generalknow ledge;
    )
    :)             (T)heterm lexpertadviceorassistance'meansadviceorassistancederivedfrom
    )              scientific,technicalorotherspecialized knowledge.
    )

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               A person violates18U.S.C.j922(g)(1)asfollows:
        Itshallbetmlawfulforany person-
        W ho hasbeen convicted in any courtof,a crim e ptmishable by imprisonm entfor
        aterm exceeding oneyear;


         To...possess in or affecting interstate or foreign comm erce, any firearm or

         amm lmition...

         7.     OnOctober15,2014,theUnited StatesSecretary ofStatedesignatedal-oa'idain
  lraq CW Q1''),thenknown asJnm'atalTawhid wa'al-lihad,asaForeign TerroristOrganization
  CFTO'') under Section 219 of the Immigration and Nationality Act and as a Specially
  Designated GlobalTerroristtmderSection 1(b)ofExecutiveOrder13224. On M ay 15,2014,
  the Secretary of State amended the designation ofAQlasan FTO underSection 219 ofthe
  Im migration and N ationality Act and as a Specially Designated GlobalTerroristentity tmder

  Section 1(b)ofExecutive Order 13224 to add the aliasIslnmic State oflraq and the Levant
  (çEISIL'')asitsprimaryname.TheSecretary also added thefollowingaliasestotheISIL listing:
  thelslamicStateofIraq and al-sham CtISIS''),theIslamic StateofIraqand Syria(ttlS1S''),ad-
  Dawla al-lslamiyya fi al-tlraq wa-sh-sham , Daesh, Dawla al lslam iya, and Al-Furqan

  Establishm entforM ediaProduction. On Septem ber21,2015,theSecretary added the following

   aliases to the ISIL listing:lslam ic State,ISIL,and ISIS. Although the group has nevercalled

   itselfûW l-oaedain Iraq,''thisnamehasfrequently been used to describeitthrough itshistory.
   To date,ISIL rem ainsa designated FTO .

          8.     Based on my training and experience,Iknow thatSunniextrem ists,who are not

   citizensorresidentsofSyria,lraq,orLibya,have traveled to those countriestojoin ISIL and
   often enter by crossing the border f'
                                       rom a neighboring cotmtry. M oreover,I nm aware that
                                                3
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           foreign fighters from W estem countries,including the United States,have traveled to locations

           in Ttlrkey,including Istanbul,and then traveled to townscloserto the borderwith Syria,where

           theyarethen broughtacrosstojoin ISIL. Based onmytraining and experience,lknow thatan
           individual nam ed Abu Bnkr al-Baghdadi is the current leader of ISIL and that the online

           m agazine Dabiq isarecnlitm entpublication forISIL.
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ï             '''         '
'                                                       Defendants
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#                 9      GltsGoRv HUBBARD (''HUBBARo,'I, who uses the alias ''JIBRPZI-''
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           (Phonetic),isthe subjectofan FBlcounterterrorism investigation which hasdetermined that
(l
i
r          HUBBARD advocatesforand supportsviolentjihad.HUBBARD isa52-yem=o1dUnitedStates
)
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h          citizen residing in W estPalm Beach,Florida,who hms professed supportforISIL and acts of
:L
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(
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.          terrorism attributedtoISIL.HUBBARD hasalsoexpressedhisdesiretotraveltoSyriaandjoin
)
l          ISIL forthe puposeofengaging in violentjihad. HUBBARD hasregularly spoken abouthis
/
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(
           supportof ISIL and his supportfordeadly terroristattacks,such as the m ass shootings in San
;
$
           Bernardino,Califom ia, and Orlando, Florida. HUBBARD has also regulrly vocalized his
)
)
)          supportforthe killing ofnon-M uslim hostages,asdepicted in beheading videosdisseminated
)          overthe InternetasISIL propaganda.
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t
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)                  10.    On or aboutJuly 30,2015,HUBBARD stated to an FBI Confidential Hum an

            Source(::CHS'')thatan individualknownasûISHAKUR''wasintouch with individualsin Syria
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1:
            affiliated with ISIL. The CHS wasposing asan ISIL followerwho wanted to travelto Syliato
t
 (          engagein violentjihad.Then,on oraboutAugust15,2015,HUBBARD introducedtheCHSto
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 è          GISHAKUR,''lateridentifiedasDAYNE ANTANICHRISTIAN (CSCHRISTIAN'D,a3l-year-old
 T
t
;           United Statescitizen residing in Lake Park,Florida. CHRISTIAN stated thathe wasin contact
 )
 ;
 (          with a Syrian nationalinside Syria who was a m em ber of ISIL. CHRISTIAN stated thathe
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 wanted to travelto Syria and join ISIL to engage in violentjihad and thatthiswasfûthe only
 option.'' The FBI has detennined that CHRISTIAN has advocated for and supported violent

 jihad, with particular emphasis on ISIL and acts of terrorism attributed to ISIL. Like
 HUBBARD,CHRISTIAN has regularly talked abouthis supportforISIL and deadly terrorist

  attacksssuch asthe massshooting in Orlando.
        11.    HUBBARD and CHRISTIAN have used the coded phrase ûtsoccer team ''when

  refeningtoISIL and thephraseçlplaying soccer''whenreferringtojoiningISIL forthepurpose

  ofengaginginviolentjihad.
               According to National Crim e lnformation Center records, CHRISTIAN is a
  convicted felon,having been arrested by the W estPalm Beach Office ofthe Bureau ofAlcohol,

  Tobacco,Firearmsand Explosiveson oraboutDecember 11,2009. CHM STIAN wasconvicted

  on or aboutM ay 25,2010,forthe offense ofm aking a false statementto a firenrms dealer in

  connection with the acquisition offirearmsand wassentencedto oneyearand oneday in prison.

                On or about M ay 11,2016,HUBBARD introduced the CHS to an individual

  known asCIDAOUD''(Phonetic). Thisindividualwaslateridentified asDARREN ARNESS
  JACKSON (IVACKSON'),a so-year-old United States citizen residing in W estPalm Beach,
  Florida. The FBlhasdeterm ined thatJACKSON too has advocated for and supported violent

  jihad,with particularemphasison ISIL and actsofterrorism attributed to ISIL. According to
   HUBBARD,JACKSON had previously intended to traveloverseas with HUBBARD to join
   ISIL forthepurposeofengaging in violentjihad. M orerecently,JACKSON hasstatedthathe
   wanted to leam Arabic and then traveloverseasto join ISIL. On the snme date HUBBARD
   introduced the CHS to JACKSON,a11 tllree individuals conducted target practice at a local

   shooting range. W hile there,HUBBARD,JACKSON,and the CHS fired two semi-automatic

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 pistols,which had been provided by JACKSON . Both HUBBARD and JACKSON stated that

 they feltpersecuted because oftheirIslam ic faith and thatthey thoughtthe otherindividualsat

  the shootingrangeweretrainingto killM uslims.
                   Backzround oflnvestization and Statem entofProbableCause

        14.     On oraboutApril11,2015,HUBBARD told the CHS thathe wasthinking about

  joirlingISIL andthenemailedtheCHS aloo-pageebookpublishedbyISIL.Thiswasamanual
  for ISIL supporters. HUBBARD justified his supportforISIL by explaining thatthey had
  established a true Caliphate,with currency,laws,and charities,al1setup according to Islamic

  law. HUBBARD stated to the CHS thathe had written two articles and sentthem to ISIL for

  publication,and thathewasworking on a third article. The subjectofthislastarticle wasthe
  media'scoverageofISIL alzd whatwaswrong with it.
         15.    On or about August 25, 2015,HUBBARD brought paperwork to the CHS'S

  residence to apply for a renewalof his United States passport. HUBBARD leftthe passport

  papem ork on the CHS'S table. The papem ork was later m ailed with instructions that

  HUBBARD 'Snew pmssportbesentto theCHS'Sresidence.
         16.    On oraboutOctober 2,2015,HUBBARD inform ed the CHS thatthere are only

  two kindsofpeople,those who were with ISIL and those who were againstISIL. HUBBARD

   discussed how he wasgetting in shapeandhow ISIL wasexciting.

          17.   On or about October 20,2015,HUBBARD stated that CHRISTIAN had been

   radicalizing a known individualby having him watch lecturesand sermonsby Anwaral-Awlaki

   and like-minded clerics. Anwaral-Awlakiwasan Islamic lecturerand aleaderofal-oa'ida in
   the Arabian Peninsula (ûW QAP''),a Yemen-based FTO that has claimed responsibility for
   terrorist acts against targets in the United States, Saudi Arabia,Korea,and Yem en since its

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 inception in January2009. Pursuantto aPresidentialExecutiveOrder,al-A wlakiwasdesignated

 by the United Statesas a Specially Designated GlobalTerroriston July l2,2010. Al-Awlaki

 wasreportedly killed in Yemen in September2011.
         18.    On or aboutN ovember 2,2015,the CHS asked HUBBARD if it was safe to

  comm tmicatew ith peoplein Syria afsliated w ith ISIL.HUBBARD stated thathedid notknow ,

  butcautioned thatlfyou do notwantto getbusted on thew ay there,''a reference to traveling to

  Syria to join ISIL. HUBBARD professed thatijihad is the skin ofIslnm ,''the outerlayer
  protectingthereligion'sbody.TheCHS asked HUBBARD iftherewasam anualforEçthesoccer

  team ''thatexplained a11the details. HUBBARD responded aftirm atively and thatitshowed the

  currencyand everything.Accordingto HUBBARD,themanual(whichHUBBARD had already
  senttotheCHS in ebook fonn)wasdetailedandonehtmdredpageslong.HUBBARD toldthe
  CHS thathe stillhad the m anual,which he sentto the CHS a second tim e. The CHS asked

  HUBBARD if he had a reliable source, meaning som eone who had inform ation on ISIL.

  HUBBARD m entioned Internet videos and that the CHS would need to ask CHRISTIAN .

  HUBBARD counseled the CH S thatthe only w ay to dealwith one'senemy wasto ilcutoffltis

  head,cuthishead off,sometimesyoujusthavetocutheadsoff.''
          19.   On oraboutDecem ber 5,2015,HUBBARD and the CHS were eating ata local

  restalzrantwhere a television wasbroadcasting news ofthe m ass shooting in San Bem ardino.

   The newsreported thatthe attack had been com mitted in the name ofISIL. HUBBARD asked

   the CHS whathe/shethoughtaboutit,and the CH S explained thatitwasatragedy. HUBBARD

   grew upset,stood up suddenly,and loudly exclaimed thathe did notcare how many Americans

   and Infidels were killed. HUBBARD laterexpressed to the CHS thathe did notcare ifpeople

   noticed hisoutburst.
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        20.     0n or about Decem ber 9, 2015, the CH S provided HUBBARD w1t14 his

  IHUBBARD'SInew passport,which had been senttotheCHS'Sresidence. W hen HUBBARD
  saw hispassport,he grew excited and stated thatitistim e,referring to tim eto travelto Spia to

  joinISIL.HUBBARD elaboratedthateveryonehadtodecidewhich sidethey wereon,theside
  ofISIL orthe sideofthosewho do notsupportit. HUBBARD indicated thathewason the side

  ofISIL.HUBBARD asked theCHS to keep hispassportso thatHUBBARD would know itwas

  safeand would notloseit.
                On or aboutDecember 12,2015,while HUBBARD,CHRISTIAN ,and the CHS

  weretravelinginacar,CHRISTIAN playedrecorded lecttlresonhistelephoneadvocatingjihad
  so that HUBBARD and the CHS could listen. CHRISTIAN stated thatafter the recentmass

   shooting in San Bem ardino,hisbosshad asked him how he feltaboutthe attack. CHRISTIAN

  replied by showing his bossa video on how civilian deathsfrom U.S.m ilitary operationswere

   never talked about by the media and that M uslims had a right to defend them selves.

   CHRISTIAN furthercommented on thetrip thatM uslimswerewaging an offensivejihad and
   thatthey had the rightto do whateverwasnecessary to win. HUBBARD stated thatthe current

   warin Syriaprovided groundsforoffensivejihad andjustified attackslikethe San Bernardino

   shooting.
          22.    On or about December 26, 2015, HUBBARD, CHRISTIAN and the CHS

   discussed NidalHasan,theU .S.Army ofticerwho had comm itted a massshooting atFortHood,

   Texas,in 2009. This1ed to a discussion aboutthe relative meritsofvarious typesoffirenrms.

   HUBBARD gotexcited and spoke aboutthe advantagesofthe type ofgtm thatHasan had used

   (thathehad chosen anice gtm to ûlputan end to someone''). CHRISTIAN asked HUBBARD
   whathappenedtothefirearm he(HUBBARD)had agreedtobringhim .HUBBARD statedthat
                                                  8
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  hecould obtain a ûtpiece''forCHRISTIAN ,and CHRISTIAN in turn told theCHS thatifhe/she

  wanted one,CHRISTIAN could obtain a firearm forhim/heras well. CHY STIAN also stated

  thathehopedtheyw ould starttraining soon.
                CHRISTIAN talked aboutseeing U.S.m ilitary personnelatthe gym and how he

  wanted to follow them hom e from the gym and then walk up behind them and çûpop,''atwhich

  pointCHRISTIAN made a gunshot solmd. HUBBARD said that CHRISTIAN could do that

  becausehe (CHRISTIAN)wasatwarwith theU.S.military. CHRISTIAN said thathe wanted

  to target a certain unidentifed m ale from the gym who had worn a U .S. M arines shirt.

  CHRISTIAN said thathe could hide in the bushesoutside thisvictim 'shouse fortwo hotlrsand

  waitforhim to com ehom eandthen ttpop.''
         24.    On or about January 10, 2016, HUBBARD , CHM STIAN , another known

   individual, and the CHS met at a local restatzrant. CHRISTIAN mentioned shooting and

   teaching someonehow to shoot. CHRISTIAN stated thathehassom eççrealstuffy''a referenceto

   actllnlfirearm sthey can shoot,and thatthey need to find aplace where som eone willnotcallthe

   police. CHRISTIAN added thatifhe gotcaughtwith llallthatstuff,''then it'sover forhim ,a

   referencetothe facthe would go tojailasa convicted felon who could notpossessafirenrm.
   CHRISTIAN emphasized thattthecan'tbearotmd thatstuff.'' The group discussed variousrural

   locationsin South Floridafortargetpractice.
          25.    HUBBARD mentioned thathe willtake som epeoplew ith him ifhe leaveshere,

   meaningtheUnited States,whenhetravelsoverseastojoinISIL.CHRISTIAN respondedthatit
   isverified and thatitisonly a matteroftim e. CHM STIAN furthermentioned Anwaral-Awlaki

   and expressed thatitcnnnotgetany betterthan that.CHRISTIAN then discussed both çta carbon

   15,''alikely referenceto an AR-15 assaultritle,and anew GtKalashnikov,''areferenceto an AK-

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  47 style assaultrifle. CHRISTIAN stated he has had ::a lotofthem''and thathe has one now

  which costhim $400 on the street,butthathe had to acquire am munition for it. CHRISTIAN
  referred to the Kalashnikov asçtoursword.'' CHRISTIAN also talked abouthow he would pay

  top dollarforan Uzi,atypeofsub-m achinegun.
         26. HUBBARD raised the issue ofkilling civilians,and used the phrase lttakging)
             down'' before leaving the United States, and CHRISTIAN responded,tûoh yeah.''
  everyone
  CHRISTIAN stted that there are som e people he was thinking aboutûftaking out''tomorrow .

  HUBBARD asked CHRISTIAN ifyou can ûitake somebody out''because legally you are atwar

  with them . CHRISTIAN responded that,ifyou know forsurethatthisperson isgoing to fight

  yotzr brothers, then you can stop them . HUBBARD then referenced the Fort Hood mass

  shooting,comm enting llthatiswhatthe brotherdid outin Texasand he was absolutely right.''

  CHRISTIAN encouraged HUBBARD to follow suit, ltYou do so,you do so.'' HUBBARD

  reaffirm ed thattheFortHood shooterhaddonethe rightthing.
                 On oraboutFebruary 17,2016,HUBBARD stated to the CHS thathe wanted to

  bring Am ericato itskneesand thatitwould beabig splash ifthe ltsoccerteam''would attack the

   Pentagon. HUBBARD added thatitwould be a gloriousday forltthe movement.'' HUBBARD

   also mentioned the W hite House as a possible target. HUBBARD made an exploding sound

   when talking about the Pentagon attack and stated that he was talking about not leaving 1ça

   pebble in the parking lot.'' Afterthe CHS mentioned thatthe Pentagon was a difficulttarget,

   HUBBARD responded thatthen the W hite House should be attacked on a day when there isa

   high-profile meeting,and m adeanotherexplosion noiseforemphasis.

          28.     On oraboutFebruary 19,2016,CHRJSTIAN told the CH S,t1Ihavean AK,so we

   can go shoot.'' CHRISTIAN added,ûtIhave one like thisbig and anotherregular size.'' The

                                               10
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  CHS asked CHRISTIAN how big the AK-47 was and how m uch itw ould cost on the street.

  CHRISTIAN responded,Gilt's like this big''and Gélike 200 dollars.'' CHRISTIAN talked about

  going to gtm show sand dealing with brokerswho do notcheck IDs. CHRISTIAN addedthatthe

  standard m agazine foran AK-47 contains 30 rounds and thathe was %çtrying to buy a hundred

  rotmds''from someone.
         29.    CHRISTIAN and the CH S discussed where to buy amm unition, and though
  CHRISTIAN suggested W al-M art,he cautioned that W al-M artasks for ID so he cannotbuy

  there. CHRISTIAN and the CHS discussed acquiring ûtabout 200 AK rounds''and how Eçit

  should be enough''for freanns training. CHRISTIAN recounted thathe had 12 assaultrifles

  before hewentto prison. CHRISTIAN stated,ttIhave likea m agazine thatholds30 roundsfor

  rightnow.'' CHRISTIAN showed the CH S picturesofhisAK-47 ritle and pistol. CHRISTIAN

   stated hehad acquired one ofhis fireannsfrom a m an who getshim ilstuff.'' CHY STIAN then

   stated,1tIboughtthis one from him,''and thathe (CHRISTIAN)had tlgotthatone for400.95
   CHRISTIAN told the CH S thatthe m agazine was notin the gtm butthatt:Ihave them atm y

   house.'' CHRISTIAN also told the CHS thatçlyou can gettheserialnumbergrinded.''

         30.     On or about M arch 3,2016,HUBBARD m entioned to the CH S that,when he

   doessom ething,he doesitbig. HUBBARD also advised he wasgetting very seriousand wanted

   to leavetheUnited StatestojointhelslnmicStatesoon. HUBBARD claimedthathewasclose
   to being ready and planned to puthis personalbelongings in storage in Georgia. HUBBARD

   stated hewasçjustseton forgettingthisDuyna (thisworld!and sellwhat1can sell,makemy
   money,getmy flightandjustgo.'' TheCHS asked HUBBARD ifhewasgoingtotlyoneway.
   HUBBARD responded,t1lhaveto go two ways,justforsecurity reasons.'' HUBBARD stated


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  thathe isçtconditioned to play soccer,wantto be a soccerplayer.'' HUBBARD added thathe

  needed tçprobably about$10,000-$15,00055forhistravelto theIslnm ic State.
                  On or about M arch 29, 2016,dtlring a discussion of the terrorist attacks in

  Belgium ,HUBBAO         pointed out to the CHS the lack of attention given to the deaths of

  M uslim s,ms opposed to the media coverage ofattacks in the W est. TIIJIIIIJVILIIreiterated ids

  intention to leave forSyria tojoin ISIL,which he explained would be dtzring the summerof
  2016,and to notretm'nto theUnited States.
                  On or aboutM ay 14,2016,HUBBARD stated to the CHS thathe intended to

   departthe United States and wmsmore adam antthan usualregarding hisplansto travelto Syria

   tojoinISIL.HUBBARD indicatedthathewastiredofmeetingtheCHS forcoffeeandthathe
   wmsready to go.
          33.     On oraboutM ay 17,2016,HUBBARD solicited theCHS'Sassistance and asked

   aboutthebestroutesoftravelto Syria. HUBBARD stated thatheplanned to renta U-Haultrtzck

   and rem ove hispersonalbelongingsfrom a storage facility in W estPalm Beach and m ovethem

   to G eorgia.
          34.     On or aboutM ay 23,2016,CHRISTIAN senttextmessagesvia a socialm edia

   platform containing a link to an audio recording released by an ISIL spokesm an named

   M ohnm med al-Adnani. CHRISTIAN also sentwritten versionsofthe statem entin English and

   Arabic. On oraboutM ay 21,2016,al-Adnanihad released this statem ent,which threatened the

   Urlited States and Em ope with attacks during Ram adan and called on ISIL supporters to take

   action in çttheheartland.''Al-Adnanihad also em phasized targeting civilians.HUBBARD senta

   response to CHRISTIAN stating thathe wasunable to open the attachment. HUBBARD later

   forwarded thesam elink originally sentby CHRISTIAN to theCH S.
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         35.    On orabout M ay 27 and 28,2016,HUBBARD loaded his personalbelongings

  into a Budgetrentaltnlck fortransportto Albany,Georgia.Thesebelongingshad been keptin a

  storage tmitin W estPalm Beach,Florida. HUBBARD also loaded two long gun/rifle cases.

  Additionalpersonalitem swere keptin HUBBARD'S van and he transferred them as wellinto

  therentaltnlck.HUBBARD intended to sellthevan upon hisreblrn from Georgia.

         36.    On or about M ay 30,2016,HUBBARD tmloaded the items from the Budget

  rentaltnzck into a storagetmitin Albany,Georgia.

                On or about Jtme 3, 2016,HUBBARD, CHRISTIAN and the CHS m et and

  discussed ISIL and itsactivities. HU BBA RD m entioned a beheading video which he had show n

  to the CH S. CHR ISTIA N w as already aw are ofthe video and m entioned another video w hich

  showed ISIL m em bers crushing an individual's skull with a large rock. HUBBARD and

  CHRISTIAN both expressed favorable views of the video with Arabic expressions like

  Elm mshallah,''which translatesastihow wonderful.''

         38.    On oraboutJune 5,2016,CHRISTIAN and HUBBARD m etwith the CHS ata

  residence in Royal Palm Beach,Florida. At this meeting CHRISTIAN handed the CHS a

  M ossbergInternational715P .22 calibersemi-automaticpistoltserialNo.E51.
                                                                         13965915),which
  wms to be used fortargetpractice with HUBBARD. The weapon included a m agazine with

  approximately 25 rounds ofnm mtmition. The M ossberg had been m anufacttlred in Brazil,and

  thus had moved in foreign comm erce. HUBBARD and the CHS m ade plans to shoot the

  M ossberg 715P on oraboutJune 8,2016. CHRISTIAN also displayed a semi-autom atic pistol

  to the CHS,which he claimed to carry ata11times. CHM STIAN talked aboutvariousgunsand

  round sizesand boasted thatheonly used nm munition thatwould inflictmaxim um dam age:



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        Norm ally 1 don't do .22, that goes against my m otto, l'm not golma buy
        som ething that'san assaultriflethatshootsa pistolround,.22,9,40,45. tcause1
        tigtlre iflgotan assaultrifle,1don'twantitto shoota round thata pistoluse...l
        wantsom ething that's gorma take yourleg offif Ihityour1eg ortake yourarm
         offif1hityourarm,that'sjustmebutmeandmy situation,being athug,1buy
         m y stuffoffthestreet,those areclean,the guy 1boughtthosefrom hehad...

         39.    Atthissame m eeting CHRISTIAN stated thathe had soughtto acquire a firearm

  m atmfactured by ûTN,''the shorthand name for a company known for high quality w eapons.

  HUBBARD com m ented thathe wished thathe had an FN firearm becausethere are afew people

  he would like to tttake out.'' CHRISTIAN spoke abouthisfederalchargesnotshowing up lton

  yotlr average background check,itdoesn'tcom e up...'' CHRISTIAN added,û1Do you know

   becauseofmy charges,it'sillegalform y wifeto own a gtm,she can'town a gtm ,herrecord is

   squeaky clean butbecause she's manied to me,she can'town a gtm because her gun is not

   allowed to be arotm d m e...'' CHRISTIAN emphasized thatçt1refuse to puta gtm down...lwill

   alwaysprotectmy fnm ily,my wife.1'm gonnateach herto usethat...''
         40.    Also atthis meeting the conversation tllrned to 1S1L'songoing fightto establish

   the Caliphate. HUBBARD firsttold the group thatthey need a code word when talking about

   ISIL so thatthey can hide whatthey are speaking about. CHRISTIAN explained how he must

   takeprecautionsbecausehisISIL associatesareundersurveillance:

          Iwastalkingto my littlebrotherandhe waslikejustbecareful. Heknows1'm
          with Dawla (lSlL)so pleasewatch whatyou say on thephone. 1told my little
          brother,Isaid look,the people 1'm in contactwith there'sno doubtin m y m ind
          thatthey'rewatching them .lknow they'rewatching,lknow they are...

   HUBBARD com mented thattM swasa time forfighting because the Islam ic Statehad notbeen

   securelyestablished,çl-rhisisnottheDawla,we'rein atimeforjihad,we'renotin thetimefor
   Dawla,we'reinthetimeofjihad.''CHRISTIAN added,itlt'sjustme,Ican'tbefake.1'm gonna
   callitlike itis...what aboutotlr brothers and sisters in Syria we are losing...'' CHRISTIAN

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           asked HUBBARD,:tSo,you are ready to go?,''and quoted Abu Bakral-Baghdadi,the leaderof

           ISIL,who encouraged attacksin theW est:

                  Forthoseofyou abroad who wish tojoinus,repentbecauseyourcotmtrywillnot
                  allow you to travel...ifwe were in yourshoes,we would perform operations in
                  those cotmtries,you're wishing to come overhere to supportus...butif we had
                  theopportunity thatyou guyshave in otzrown landsto wreak havoc,wewould do
                  the sam ething.
                  41.    On or about June 7,2016,the CHS was with HUBBARD when he booked a

           rotmdtrip airplaneticketthrough Orbitz.com from M inm i,Florida,to Berlin,Germ any. Theplan
.



           wastotraveltoEtlropeonhisjourneyto Syria,and thattheCHS wouldaccompany HUBBARD
           onthetrip.HUBBARD woulddepartMiamionJuly21,2016,andconnecttkoughNewark,
           New Jersey,to Berlin,aniving on July 22,2016. The return ticketwasbooked for August 15,
'



            2016,which,accordingto HUBBARo'Splan,would give the appearmwe thatHUBBARD and
'
            the CHS were visiting Etlrope forthree weeks. HUBBARD used hislaptop com puterand Visa
)
(
q
î
C           debitcard to book histicket,which costapproximately $1,008. HUBBARD also researched and
);
t
f           discussed taking a train from Berlin to lstanbul,Turkey,butdecided to purchase the train ticket
(.
.
(
)
'           later. Afterbooking the airlinetickets,HUBBARD played a lecture by Anwaral-Awlakion his
'
(
:
(è
 '
'           cellulartelephone concerning whatseparatestrue believersfrom hypocrites. A few days after
è
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(
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:
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            m aking thesearrangem ents,HUBBARD sold hisvan.

è                  42.    On or aboutJune 8,2016,HUBBARD and the CH S m etatan indoor shooting
!
è
(           range. HUBBARD broughtfourweaponsto the range,a .22 caliberttsurvivalrifle,''a KelTec
2
t           9mm Lugerpistol,a.40caliberRugerpistol,andtheMossberg 715P .22calibersemi-automatic
(2
'           pistolthatCHRISTIAN had previously given them . HUBBARD stated thathehad picked up the

l
(
            9mm pistolfrom CHRISTIAN earlierthatday. The CHS observed thatHUBBARD was very
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  seriousaboutthe firearm s training and thatHUBBARD provided instruction on how to handle

  theweapons.
        43.     On oraboutJtme 19,2016,HUBBARD and CHRISTIAN metwith the CHS,but

  priorto CHRISTIAN 'Sarrival,HUBBARD and the CHS discussed booking ahotelin Berlin and

  the train from Berlin to Istanbul. HUBBARD washesitantto book the train ticketsatthatpoint

  because he did notwantto draw attention from the govenunent. Upon hisanivalCHRISTIAN

  played a serm on on histelephonepraising Usama bin Laden. ln reference to the Pulse nightclub

  attack in Orlando,CHRISTIAN stated,tl-f'
                                         henightclub wasa softtazgetandregardlessifthey are

  gay ornot,itwasblood forblood and itwasan added bonusthatthey w ere gay.'' CHRISTIAN

  elaboratedthattheywereçtengagedin warwiththekuffar''andthatsuchactsarejustitiedduring
  atimeofwar(:çYoucankillthem.''):
         Dawla released a video in response to this attack and they mentioned nothing
         aboutplnishing homosexuals,itwasblood forblood,it'sjusta soR target,hey
         we're gonna perform operations. lknew thiswas com ing f' rom the speech ofa
         brother...we're gorma execute an operation in Am erica. Hey whatother place
         better,listenjustadd acoupleofsprinklesand somestrawbeniesfrosting ontop
         ofit,they're gays.

         44.    Atthissam em eeting CHRISTIAN broughta bag containing threefrearm s. Two

  ofthe weapons were nottaken outofthe bag,butthe CHS could see thatthey were a sem i-

  autom aticpistoland am inisub-machinegun. The sub-machinegtm wasblack and distinctfrom

  the M ossberg 715P thatCHRISTIAN had loaned to HUBBARD and the CHS. The CHS had

  indicated to CHRISTIAN,both directly and through HUBBARD,thathe/she was interested in

  purchasing a firearm . In response, CH RISTIAN brought the third firenrm to the m eeting, the

  KelTec 9mm LugerpistolthatHUBBARD and the CH S had used fortargetpractice on orabout

  June8,2016.CHRISTIAN statedthattheweaponcost:û5''($500).CHRISTIAN agreedtomeet

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  HUBBARD and the CHS on oraboutJune 24,2016,when he would allow them to borrow his

  A K.
     -47 style assaultrifle.
         45.    On oraboutJune 20,2016,HUBBARD and the CHS wentonline together and

  booked a hotel reservation in Berlin for July 22, 2016. According to HUBBARD'S plan,

  bookingthehotelwould m akeHUBBARD and the CHS appearaslegitim atetourists.

         46.    On oraboutJune 24,2016,the CHS picked up HUBBARD from hisapartm ent

  and asked HUBBARD to send CHRISTIAN a message and he willmeethim forGlthe item ,''a

  reference to the AK-47 style mssaultritle. A little lateron,CHRISTIAN m etwith HUBBARD

  and the CHS,at which point both HUBBARD and CHY STIAN com mented that killing the

   t:kuffar''is perm issible during tim es of war. The CHS asked CHRISTIAN if he stillhas the

   firearm and CHRISTIAN advised he stillhad the çfKalashnikov''and thathe willprovide itto

   him/her. CHRISTIAN invited the CHS to pick up the weapon athisresidence. HUBBARD told

   CHRISTIAN that if he (HUBBARIX must leave town,he would leave CHY STIAN his
   ammllnition forlçhis(CHRISTIAN'S)own mission.'' W hentheCHS inquired whatthismeant,
   HUBBARD advised that he was serious. CHRISTIAN then stated that he has thought of

   tûpulling som ething off'atoneofthe gym shefrequents.

          47.    On oraboutJtme 26,2016,the CHS received a textm essage from CHRISTIAN

   advising thatççthe Bible,''a code word forthe AK-47 style assaultrifle,was ready to be picked

   up. The CH S drove to CHRISTIAN 'S residence in Lake Park,Florida,where CHW STIAN

   came outsidewith theritlelserialNo.M F9479)wrapped in a sweater. Thisweapon had been
   manufactured in Romania and imported into the Urtited Statesthrough V ermont,and thus had

   traveled in interstate and foreign com merce. CHRISTIAN also provided the CHS with one

   m agazine and 20 rounds ofW inchester 7.62 x 39mm nm munition. The CHS com mented that

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  this w as the type of heavy w eaponry he/she and HUBBARD would need to use in Syria.

  CHRISTIAN agreed and sm iled. CHRISTIAN advised that his ISIL contacts had been

  comprom ised and thathe would attemptto identify new contacts who could help HUBBARD

  and the CHS in Syria. CHRISTIAN advised thathe was getting his affairs in order and that,

  Allah willing,heand hisfamily would travelto Syriaaswell.Thism eeting wasnotrecorded.

         48.    On oraboutJune 30,2016,HUBBARD senta group textm essage to the CHS.

  The message contained a link to an Anwar al-Awlaki video. The lecture encouraged violent

  jihad and CHRISTIAN responded to HUBBARD'Stextmessage,stating thatany M uslim of
  sanity would follow al-Awlaki'sguidance.

         49.    On oraboutJuly 6,2016,CHRJSTIAN and the CHS metto discusspaymentfor

  the KelTec 9mm LugerpistolthatCHRISTIAN had provided to the CHS on oraboutJune 19,

  2016. The CHS offered CHRISTIAN $500 forthe pistoland CHRISTIAN respondedthat$500

  was too much.The CHS then handed CHRISTIAN an envelope w ith $300 and CHRISTIAN
  accepted it. CHRISTIAN asked,ûçW hen are you guys leaving?'' The CHS responded thatthey

  w ould departon July 21.

         50.    On oraboutJuly 9,2016,HUBBARD,JACKSON ,the CHS,and anotherknown

  individual went shooting at a rem ote South Florida wildlife m anagem ent area. The group

  initially shotpistols and,afterltmch,the group began shooting ritles,to include CHRISTIAN'S

  AK-47 style assaultritle. JACKSON himself broughttwo pistols (one 9mm and one .40
  caliber),twoAK-47styleassaultritles,andashotgun.
        51.    O n or about July 12, 2016, CH M STIA N and the CH S m et for lunch and

  discussed how many people know that HUBBARD is traveling to Syria to join ISIL.
  CHR ISTIAN agreed w ith the CH S thateveryone knew . A ccording to CH RISTIAN ,H U BBARD

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  had told him thathew as going to Syriato gettraining and thathe wascoming back. The CHS

  told CHRISTIAN thathe/she wasgoing with HUBBARD butthathe/she was notstaying. The

  CHS m entioned JACKSON 'S firenrms from the trget practice session and CHRJSTIAN

  responded thatJACKSON also had two pistols. TheCH S confirm ed to CHRISTIAN thathe/she

  andHUBBARD weredeparting on July 21.

         52.     On oraboutJuly 14,2016,JACKSON agreed to take HUBBARD and the CHS to

  M inmiIntem ationalAirport. JACK SON said he knew ofHUBBARD and the CHS'S plans to

  join ISIL in Syria. JACKSON agreed to provide his AK-47 style assaultrifles,as wellas
  instruction on how to shootthem ,to HUBBARD and the CHS. The plan was to hold this

  training on oraboutJuly 16,2016,and JACKSON acknowledged thatthe purpose would be to

  prepare HUBBARD and the CHS to fightforISIL. JACK SON said thathewished he could do

  moreto help HUBBARD and theCHS. JACKSON also advised HUBBARD and theCHS to 1ie

  to the passportpeople aboutwhere they were going. JACKSON stated thathewished hecould

  go to Syria with them .

         53.    On oraboutJuly 15,2016,HUBBARD and JA CK SON metwith the CH S and

  made plans with CHRISTIAN to hold target practice at the snm e South Florida wildlife

  management area On or aboutthe nextday. The CH S broughtup the terroristattack thathad

  occurred in Nice,France,on July 14,2016;however, JA CK SON and H U BBA RD were tmaware

 that the attack had happened. W hen the CHS provided details of the attack, H UBBA RD

 exclaimed tûAlham dulillah,''m eaning çtpraise be to A11ah,'' and JACKSON exclaim ed 11A11ah

 Akhbar5''meaning tW llah isgreat.''

         54.    On or about July 16, 2016, CHRISTIA N , JACKSON ,the CHS,and a known

 individual,drove to the targetpractice location. H U BBARD w as not present. At one point

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  CHRISTIAN and JACKSON indicated thatthey did nothave enough am mtmition. JACKSON

  said thatHUBBARD had taken the am munition leftoverfrom the lastshooting session. Aher

  purchasing am munition, both CHRISTIAN and JACKSON referred to the group's shooting

  activity msatttraining session.'' CHRISTIAN spokeaboutISIL training peopleand sending them

  back to theirhom elands to conductattacks. CHRISTIAN opined that ithurtsthe enemies of

  ISIL m oreto attack theirhom elandsthan to killthem on thebattlefield. The group discussed the

  Niceattack and spokeapprovingly ofthepem etrator'sreported connections.

         55.    Upon arrivalatthe wildlife m anagem entarea,JACKSON broughtoutthe same

  weaponsused during the firearm straining on oraboutJuly 9, 2016. JACK SON also provided

  severalpaper targets. The CHS broughtCHRISTIAN 'S Romanian-m anufactlzrcd AK-47 style

  ritle. The CHS msked CHRISTIAN ifhe/she could keep itform ore training and CHRISTIAN

  agreed. JACKSON described hisM osin Nagantsniperrifle asaccurateup to onem ileand noted

  thathe intendsto use itçtwhen the time comes.'' CHRISTIAN claimed to have anotherM 1-47,

  which he described as a pistol. Both CHRISTIAN and JACKSON provided detailed firearm s

  instruction to the CHS,describing how accuratethe weaponswereand dem onstrating theproper

  position forhandling and firing them . CHRISTIAN showed the CH S how to load, unload,and

  break down theAK-47 style rifle. JACKSON broughtgun oiland showed theCHS how to clean

 the shotgtm. The CH S observed JACKSON place his pistols, shotgun,and two AK-47 style

  assaultritlesin hisgrey Volkswagen sedan afterthetttraining session''had concluded.

        56.     On or about July 18, 2016, HUBBARD and JACKSON m et the CH S and

 discussed the shooting in Baton Rouge,Louisiana, where three police officers had been killed.

 HU BBA RD praised the attacker for killing the tçkuffar,''and both HUBBARD and JACKSON

 stated EçAlham dullilah,''orçûpraise be to God.'' The CHS asked HUBBARD how much m oney

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  he wasphnning to bring on the trip to Syria, and HUBBARD responded thathe would bring

  $6,000. The CH S explained thecurrency declarationsrequirem entsand warned HUBBARD that

  amolmtsover$10,000 could beconfiscated in Europe. HUBBARD gavethe CHS severalboxes
  ofadwork forllim to store in his/hergarage, and commented thatitislikely he would stay in

  Syria and notrettu'
                    n. HUBBARD stated thatCHRISTIAN had infonned him aboutthe recent

  weaponstraining session and,bmsed on CHRISTIAN 'Sreporq praised theCH S'Shandling ofthe

  firenrm s.

         57.    The group then began to discuss JACKSON 'S M osin Nagant sniper ritle.

  JACKSON showed the CH S a steelround, which the CHS observed to be approximately 1.5

  timeslargerthan a 7.62 x 39m m rotmd. JACKSON advised thatthe steelround was capableof

  piercing body nrmor and could notbe used atan indoor shooting range because itwould go

  through the wall. JACK SON said thathe would be taking the M osin Nagantsniperrifle to the

  gtmsmith later that day for repairs. HUBBARD and JACKSON expressed interested in

  conducting anotherfirearmstraining session, and discussed where to hold theirfarewelldinner.

  The CHS observed JACKSON place the M osin Nagant sniper ritle in the tnm k of his grey

 Volkswagen sedan when themeeting had concluded.

        58.    On oraboutJuly 21,2016,HUBBARD, JACKSON ,and the CHS traveled from

 W estPalm Beach to M iam iIntem ationalAirportso thatHUBBARD and the CHS could depart

 for Syria. JACK SON drove HUBBARD and the CHS in his grey Volkswagen sedan. After

 JACKSON dropped HUBBARD and the CHS off, HUBBARD and the CHS obtained their

 boarding passes at the ticket cotmter. HUBBARD and the CHS clem'ed through the TSA

 checkpointatwhich pointHUBBARD was arrested. JACKSON was arrested afterhe leftthe

 airportprem ises. CHRISTIAN wasarrested athisplace ofwork. ln a post-M iranda statement,

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  CHRISTIAN stated that he had possessed four firearms in the last year,including the AK-47

  styleassaultrifle.

                                         Conclusion

         59.    Based on the foregoing,I subm it that there is probable cause to believe that

  GREGORY HUBBARD,DAYNE ANTAN ICHRISTIAN and DARREN ARNESS JACKSON ,

  in the Southem DistrictofFlorida,haveknowingly conspired and attem pted to provide material

  supportandresomcestoadesignated FTO,thatis,ISIL,inviolation of18U.S.C jj2339B(a)(1)
  and 2. This includes the provision ofpersonnel. Further,l subm itthere is probable cause to

  believe that DAYNE AN TAN I CHRISTIAN,having previously been convicted of a crim e

  ptmishableby imprisonmentforaterm exceeding one(1)year,didknowingly possessafirearm
  inandaffectinginterstateandforeign commerce,inviolation of18U.S.C.j922(g)(1).
        FURTHER YOUR AFFIANT SAYETH NAUGHT.


                                                1% > Z V          <
                                             BRIA N KIN G
                                             SPECIAL AGENT
                                             FEDERAL BUREAU OF m VESTIGATION

  Subscribedtoand sworn beforemein
  M iam i,Florida,this22= day ofJuly 2016.

                 %
                     )            *(
  H O .CHRJS M .M CALILEY
  UN ITED STA TES M A G ISTR ATE JU D GE
  SO U TH ERN D ISTRICT O F FLOR ID A




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